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 EXHIBIT B
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                            PLAINTIFFS’ COUNSEL
                SUPPORTING APPLICATION OF TIMOTHY G. BLOOD

Ben Barnow
Barnow and Associates, P.C.
   Iron Wing, et al. v. Facebook, Inc., No. 3:18-cv-02122

Steve W. Berman
Robert F. Lopez
Hagens Berman Sobol Shapiro LLP
   Johnson, et al. v. Facebook, Inc., No. 3:18-cv-02127

David S. Casey, Jr.
Gayle M. Blatt
Casey Gerry Schenk Francavilla Blatt & Penfield LLP
   Gerena v. Facebook, Inc., No. 3:18-cv-02201

James E. Cecchi
Carella Byrne Cecchi Olstein Brody & Agnello, P.C.
   Malskoff, et al. v. Facebook, Inc., et al., No. 3:18-cv-03393

Michael J. Flannery
Cuneo Gilbert & LaDuca, LLP
   O’Hara, et al. v. Facebook, Inc., et al., No. 8:18-cv-00571

Eric H. Gibbs
Gibbs Law Group LLP
    King v. Facebook, Inc., et al., No. 3:18-cv-02276

Daniel Hedlung
Gustafson Gluek PLLC
   Schinder v. Facebook, Inc., et al., No. 3:18-cv-02571

Paul Hoffman
Aidan McGlaze
Schonburn Seplow Harris & Hoffman LLP
   O’Hara, et al. v. Facebook, Inc., et al., No. 8:18-cv-00571

Derek W. Loeser
Lynn Lincoln Sarko
Gretchen Freeman Cappio
Cari Campen Laufenberg
Keller Rohrback LLP
   Haslinger v. Facebook, Inc., et al., No. 3:18-cv-01984

Gary F. Lynch
Todd Carpenter
Carlson Lynch Sweet Kilpela & Carpenter
   Gennock, et al. v. Facebook, Inc., et al., No. 3:18-cv-01915



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Dee Miles
Archie Grubb
Beasley Allen Crow Methvin Portis & Miles PC
   Williams v. Facebook, Inc., et al., No. 3:18-cv-03676

Arthur M. Murray
Murray Law Firm
   Gennock, et al. v. Facebook, Inc., et al., No. 3:18-cv-01915

Christopher P. Ridout
Zimmerman Reed LLP
   Bouillon v. Facebook, Inc., No. 4:18-cv-02565

Karen Hanson Riebel
Lockridge Grindal Nauen PLLP
   Gennock, et al. v. Facebook, Inc., et al., No. 3:18-cv-01915

Rosemary M. Rivas
Levi & Korsinsky, LLP
   Vance-Guerbe v. Facebook, Inc., et al., No. 3:18-cv-02987

Christopher A. Seeger
Stephen A. Weiss
Seeger Weiss LLP
   Malskoff, et al. v. Facebook, Inc., et al., No. 3:18-cv-03393

Michael W. Sobol
David T. Rudolph
Nicholas Diamand
Lieff Cabraser Heimann & Bernstein, LLP
    Beiner, et al. v. Facebook, Inc., et al., No. 3:18-cv-01953

James C. Vlahakis
Sulaiman Law Group, Ltd.
   Comforte, et al. v. Cambridge Analytica, et al., No. 3:18-cv-03394

Lesley E. Weaver
Bleichman Fonti & Auld LLP
   Schinder v. Facebook, Inc., et al., No. 3:18-cv-02571

Tina Wolfson
Ahdoot & Wolfson PC
   Diaz Sanchez v. Facebook, Inc., et al., No. 3:18-cv-02381

Helen I. Zeldes
Coast Law Group
   O’Hara, et al. v. Facebook, Inc., et al., No. 8:18-cv-00571




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